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Attorney for Defendant Wahyu Sanjoyo

                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,                 )
                                          )
              Plaintiff,                  )
                                          )
       vs.                                )
                                          )
WAHYU SANJOYO,                            )
                                          )
              Defendant.                  )
                                          ) Case No: 3:17-cr-00027-SLG-DMS

                  UNOPPOSED MOTION TO CONTINUE TRIAL
                          (Filed on shortened time)

       COMES NOW Defendant Wahyu Sanjoyo, by and through his counsel of record,

Michael A. Moberly of Hozubin, Moberly, Lynch & Associates, and hereby moves the

Court for a continuance of His Trial, currently scheduled to occur September 11, 2017 at

9:00 AM and to use the Pre-Trial Conference scheduled for August 28, 2017 at 3pm as a

scheduling conference. A period of excludable delay under 18 U.S.C. §3161(h)(1)(D)

and/or (h)(7)(A) will occur as a result of the filing of this motion. As of the date of this

motion, 38 days remain before trial must begin pursuant to the Speedy Trial Act.




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        Mr. Sanjoyo was charged by Complaint 1 on March 1, 2017, and arraigned on

Indictment 2 on March 28, 2017. The bulk of discovery was received shortly thereafter, but

the government disclosed 31 search warrants related to the case on May 8, 2017. As of

yet, no further discovery related to those search warrants has been provided. Once

received, time is needed to apply any redactions necessary in order to provide the discovery

to Mr. Sanjoyo. Mr. Sanjoyo needs time in which to review his discovery, and then to have

informed discussions with counsel as to how he wishes to proceed with his case.

        A continuance is necessary for the ends of justice to be served, which outweigh the

best interests of the public and the defendant in a speedy trial:

        1) the failure to grant such a continuance in the proceeding would be likely to make

            a continuation of such proceeding impossible, or result in a miscarriage of

            justice 3; and

        2) the failure to grant such a continuance in a case which, taken as a whole, is not

            so unusual or so complex . . . would deny counsel for the defendant [and the

            defendant, himself] . . .the reasonable time necessary for effective preparation,

            taking into account the exercise of due diligence. 4



1
  Docket No. 1.
2
  Docket No. 11.
3
  18 U.S.C. §3161(h)(7)(B)(i).
4
  18 U.S.C. §3161(h)(7)(B)(iv).

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         For the reasons stated above, Mr. Sanjoyo asks that the Trial be continued, and that

his August 28, 2017 hearing be changed to a Status/Scheduling Hearing in order to discuss

appropriate dates. This continuance would effectively extend the Speedy Trial deadline by

an additional 28 days or more.

         On August 17, 2017, and again on August 28, 2017, undersigned counsel spoke with

Kelly Cavanaugh, the assigned Assistant United States Attorney, regarding this requested

continuance, and he did not oppose this request. Because this motion is unopposed, and

the court dates as presently set fall within the normal response times for motion practice,

Mr. Sanjoyo respectfully requests that this motion be heard on shortened time.

         DATED this 28th day of August, 2017.

                                             HOZUBIN, MOBERLY, LYNCH & ASSOCIATES
                                             Attorneys for Defendant Wahyu Sanjoyo


                                             By:    /s/ Michael A. Moberly
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                                             Alaska Bar No. 9612073
CERTIFICATE OF SERVICE
I hereby certify that on the 28th day of August 2017, a
true and correct copy of the foregoing was
electronically served on the following:

PARTIES OF RECORD

HOZUBIN, MOBERLY, LYNCH & ASSOCIATES

By:   /s/ Michael A. Moberly
9100.626/court docs/Mtn to Continue Trial


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